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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

GARY RAY CORSE,

               Plaintiff,

vs.                                                                      No. CIV 25-0106 JB/GBW

E. O’MEARA,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Plaintiff’s Petition to Proceed Pro Se, filed

January 21, 2025 (Doc. 1)(“Petition”).1 The Plaintiff Gary Ray Corse appears pro se. For the

reasons set out below, the Court: (i) denies the Petition; (ii) orders Corse to have an attorney enter

an appearance in this case on Corse’s behalf; and (iii) orders Corse to sign the Petition.

       The Honorable Scott W. Skavdahl, United States District Judge for the United States

District Court for the District of Wyoming, sitting by designation, imposed filing restrictions on

Corse. See Corse v. O’Meara, No. CIV 13-0851 SWS/KBM, Order Imposing Filing Restrictions,

filed December 9, 2013 (No. CIV 13-0851 Doc. 10)(“Order”). Judge Skavdahl orders that Corse

may not file a complaint against any defendant in the United States District Court for the District

of New Mexico “unless either (i) a currently licensed attorney who has been admitted to practice

before this Court signs the pleading and represents him or (ii) Corse first obtains permission to

proceed pro se.” Order at 1-2.

       To obtain permission to proceed pro se, Corse must file a petition with the Clerk of
       the Court requesting leave to file a pro se complaint, to which he must attach a copy
       of his proposed complaint, the application to proceed IFP, if any, and a copy of
       these filing restrictions. The petition must set out the specific jurisdictional
       authority on which Corse bases his suit. If he is seeking to sue a defendant whom
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      The Petition does not have a title. The Clerk’s Office docketed the Petition as a
“Complaint.” The Court construes the Petition as a petition to proceed pro se.
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        he has previously sued in any court, he shall attach his previous complaint/s and all
        orders entered in the case/s, and explain in his petition why his suit is not barred by
        the doctrine of res judicata.

                 The Clerk of the Court shall forward the materials to the Chief Magistrate
        Judge of the United States District Court for the District of New Mexico for review
        to determine whether to permit the filing of the complaint. Without the Chief
        Magistrate Judge’s approval, the Clerk will not accept a petition or complaint for
        filing. If the Chief Magistrate Judge approves the filing, the Chief Magistrate Judge
        will instruct the Clerk to file the petition/complaint and the case may proceed in
        accordance with the Federal Rules of Civil Procedure. If the Chief Magistrate
        Judge does not approve the filing, with the concurrence of an Article III Judge, the
        Court will send a letter to Corse informing him that permission to file his complaint
        has been denied.

Order at 2. The Honorable Gregory B. Wormuth, Chief United States Magistrate Judge for the

United States District Court for the District of New Mexico, has not approved the Petition. Corse,

therefore, may not file a complaint unless “a currently licensed attorney who has been admitted to

practice before this Court signs the pleading and represents him.” Order at 1-2.

        The Court denies the Petition. Corse must, within twenty-one days of this Memorandum

Opinion and Order’s entry, have a currently licensed attorney who has been admitted to practice

before the Court enter an appearance in this case on Corse’s behalf and sign and file the Petition.

Failure timely to have an attorney enter an appearance on Corse’s behalf and sign and file the

Petition will result in dismissal of this case.

        Additionally, Corse does not sign his Petition as rule 11(a) of the Federal Rules of Civil

Procedure requires. See Fed. R. Civ. P. 11(a) (“Every pleading, written motion, and other paper

must be signed . . . by a party personally if the party is unrepresented.”). The Court will strike the

Petition if Corse does not sign the Petition within twenty-one days of this Order’s entry. See

Fed. R. Civ. P. 11(a) (“The court must strike an unsigned paper unless the omission is promptly

corrected after being call to the . . . party’s attention.”).




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        IT IS ORDERED that: (i) the Plaintiff’s Petition to Proceed Pro Se, filed January 21, 2025

(Doc. 1), is denied; (ii) the Plaintiff must, within twenty-one days of this Memorandum Opinion

and Order’s entry, have a currently licensed attorney who has been admitted to practice before this

Court enter an appearance in this case on the Plaintiff’s behalf, and sign and file the complaint;

and (iii) the Plaintiff must, within twenty-one days of this Memorandum Opinion and Order’s

entry, sign the Petition.

                                                       ________________________________
                                                       UNITED STATES DISTRICT JUDGE

Parties:

Gary Ray Corse
Albuquerque, New Mexico

        Petitioner pro se




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